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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                            4:14CR00114-20 DPM


MEGAN BRITTNEY TURNER

                                      ORDER

      Defendant’s Pretrial Services Officer has informed the Court that the Wilbur

Mills facility will be unable to provide Defendant with bed space for the chem-free

living component of her drug treatment program. Accordingly, Defendant’s

Conditions of Release (doc. 125) are modified to require her to participate in the

chem-free living program at Crowley’s Ridge Development Council in Jonesboro,

along with outpatient mental health treatment, until the disposition of the charges

in the indictment. All other conditions of release shall remain in effect.

      IT IS SO ORDERED this 20th day of November, 2014.



                                        ___________________________________
                                        UNITED STATES MAGISTRATE JUDGE
